           Case 2:16-cv-05388-MSG Document 39 Filed 10/19/17 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


____________________________________________
MILLARD C. BIBEY, III,                       :               CIVIL ACTION
                  Plaintiff,                 :
                                             :
                                             :
                                             :
            v.                               :               No. 16-5388
                                             :
SIKORSKY AIRCRAFT CORP., ET AL.,             :
                  Defendants.                :
____________________________________________ :


                                    SCHEDULING ORDER

      AND NOW, this 19th day of October, 2017, following a preliminary pretrial conference,

it is ORDERED that:

      1.       This case is referred to Magistrate Judge David R. Strawbridge for settlement

               purposes.   Judge Strawbridge will contact counsel to initiate the settlement

               process.

      2.       All motions to amend the complaint and to join or add additional parties shall be

               filed within fourteen (14) days of the date of this Order.

      3.       All fact discovery shall be completed by February 7, 2018.

      4.       Plaintiffs shall produce their expert report(s) by March 7, 2018. Defendants shall

               produce their expert report(s) by March 28, 2018. Plaintiffs’ expert witness

               rebuttal reports (if necessary) shall be produced by April 18, 2018. All expert

               discovery, including all depositions of expert witnesses, shall be completed by

               May 16, 2018.




                                                 1
     Case 2:16-cv-05388-MSG Document 39 Filed 10/19/17 Page 2 of 2



5.       All motions for summary judgment and Daubert motions shall be filed no later

         than May 30, 2018.

6.       Responses to motions for summary judgment and Daubert motions, if any, shall

         be filed no later than June 20, 2018.

7.       All further deadlines will be set pending the outcome of dispositive motions.



                                                 BY THE COURT:


                                                 /s/ Mitchell S. Goldberg
                                                  __________________________
                                                 Mitchell S. Goldberg, J.




                                          2
